                 Case 21-70307-JAD                      Doc 19         Filed 08/06/21 Entered 08/06/21 12:54:39     Desc Main
                                                                       Document     Page 1 of 1




                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                  IN RE: Brian A. Lauritsen dba Lauritsen                                              CHAPTER 13
                  Transport LLC dba Lauritsen Transport
                                Bobbie M. Lauritsen                                                BKY. NO. 21-70307 JAD
                                               Debtor(s)


                                         ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                           Kindly enter my appearance on behalf of LAKEVIEW LOAN SERVICING, LLC and
                    index same on the master mailing list.



                                                                  Respectfully submitted,


                                                                  /s/ ${s:1:y:_________________________}
                                                                      Brian Nicholas
                                                                      06 Aug 2021, 08:53:02, EDT

                                                                  Brian C. Nicholas, Esq. (317240) ${c:1:n:bcn:att-y}
                                                                  Maria D. Miksich, Esq. (319383) ${c:1:n:mdm:att-y}
                                                                  Rebecca A. Solarz, Esq. (315936) ${c:1:n:ras:att-y}
                                                                  KML Law Group, P.C.
                                                                  BNY Mellon Independence Center
                                                                  701 Market Street, Suite 5000
                                                                  Philadelphia, PA 19106
                                                                  412-430-3594
                                                                  bkgroup@kmllawgroup.com




Document ID: 4cb0a8f804d8f82fc2f149492bb3dd021c63af5dd9ac8bdbd581d8b68bc0c9aa
